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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


AMERICAN FEDERATION OF STATE,
COUNTY AND MUNICIPAL
EMPLOYEES, AFL-CIO, et al.,

                       Plaintiffs,
                                                        Case No. 1:25-cv-00596-ELH
               v.

SOCIAL SECURITY
ADMINISTRATION, et al.,

                       Defendants.



                    NOTICE OF FILING OF CERTIFICATION AND INDEX
                          OF THE ADMINISTRATIVE RECORD

       Defendants in the above-captioned action file this notice of the filing of the certification of

the Administrative Record of the Social Security Administration, which the undersigned intended

to file together with the contents of the Administrative Record yesterday but inadvertently did not

include when filing. Defendants also provide with this notice an index to the Administrative

Record for the Court’s and Plaintiffs’ reference. Defendants will include the certification and

index in the courtesy copy to be provided to the Court by noon today.

Dated: April 3, 2025                          Respectfully submitted,

                                              YAAKOV M. ROTH
                                              Acting Assistant Attorney General
                                              Civil Division

                                              ELIZABETH J. SHAPIRO
                                              Deputy Branch Director
                                              Civil Division, Federal Programs Branch

                                              /s/ Bradley P. Humphreys
                                              BRADLEY P. HUMPHREYS

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                              CERTIFICATE OF SERVICE

       I certify that on April 3, 2025, I electronically filed the foregoing and thereby caused a

copy to be served on counsel of record.


                                                      /s/ Bradley P. Humphreys
                                                      BRADLEY P. HUMPHREYS
